UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE JPMORGAN CHASE & CO.                                             ORDER
SECURITIES LITIGATION                                            12 Civ. 03852 (GBD)           j




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GEORGE B. DANIELS, United States District Judge:

       Lead Plaintiffs' Motion that this Court issue an Order Requiring Posting of an Appeal

Bond pursuant to Fed. R. App. P. 7 by objector-appellant Jeffrey M. Brown is DENIED.

       The Clerk of the Court is instructed to close the motion at ECF No. 21 7.

Dated: October 3, 2016
      New York, New York
                                                        SO ORDERED:
